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W.M. BARR AND COMPANY, INC.,

Plaintiff and Counter-Defendant,

v. No. 05-2219-D-V

DYNACRAFT INDUSTRIES, INC.,
dib/a BACK TO NATURE PRODUCTS, CO.,

Defendant and Counter-Plaintiff.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on August ll, 2005.
Present were Lea H. Speed of Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C., counsel
for plaintiff, and Jeremy G. Alpert of Glankler Brown, PLLC, counsel for defendants At the
conference, the following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT to Fed.R.Civ.P. 26(a)(1): August 25, 2005.
JOINING PARTIES: October 14, 2005.
AMENDING PLEADINGS: October 14, 2005.
INITIAL MOTIONS TO DISMISS: Novernber ll, 2005.
COMPLETING ALL DISCOVERY: April 21, 2006.
(a) DOCUMENT PRODUCTION: April 21, 2006.

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 21, 2006.

Th"s document entered on the docket§>hee§in cg)mp|iance
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(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF’S AND COUNTER-PLAINTIFF’S
RULE 26 EXPERT INFORMATION: February 27, 2006.

(2) DISCLOSURE OF DEFENDANT’S AND COUNTER-
DEFENDANT’S RULE 26 EXPERT INFORMATION: March 27,
2006.

(3) EXPERT WITNESS DEPOSITIONS: April 28, 2006.
FILING DISPOSITIVE MOTIONS: May 26, 2006.
OTHER RELEVANT MA'I`TERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last five to six days. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If` a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.
This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

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IT IS SO ORDERED.

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UNrrED srArEs MAGISTRATE JUDGE

DATE; @lé/M,d /7, veng

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-022l9 was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

